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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

§
Rod Shipping Ltd., §
§ ‘
Plaintiff, § CIVILACTION 24- 1547
§
vs. § IN ADMIRALTY, Rule 9(h)
§
Caventine Shipping & Petroleum Co. Ltd., et al., §
§
Defendants, §
§
and §
§
Cavalier Enterprise Inc., et al., §
§
Garnishees. §
ORDER

Plaintiff, having moved for an Order pursuant to Supplemental Rule B(1)(d)(ii)
appointing Timothy Jay Houseal, or any other qualified person appointed by him, to serve the
process of maritime attachment and garnishment and any supplemental process in this matter,
and it appearing that such appointment will result in substantial economies in time and expense,

NOW, on motion of Plaintiff, it is hereby,

ORDERED, that Timothy Jay Houseal, or any other person at least 18 years of age and
not a party to this action, appointed by him be and hereby is, appointed to serve the Process of
Maritime Attachment and Garnishment, and a copy of the Verified Complaint as issued in this

case.

DONE AND ORDERED this2@day of Ocho 2021.

peg C.

UNITED STATES DISTRIGJ/JUDGE
